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                                   7                               UNITED STATES DISTRICT COURT
                                   8                          NORTHERN DISTRICT OF CALIFORNIA
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                                         LEYLA SHAMS,                                      Case No. 22-cv-01745-NC
                                  11
                                                      Plaintiff,                           ORDER GRANTING
                                  12
Northern District of California




                                                                                           DEFENDANT’S MOTION TO
 United States District Court




                                                v.                                         STAY
                                  13
                                         REVATURE LLC,                                     Re: Dkt. No. 20
                                  14
                                                      Defendant.
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                                  17         Plaintiff Leyla Shams filed a putative class action against her former employer,
                                  18   Defendant Revature LLC, alleging, among other things, an individual claim for damages
                                  19   based on California Labor Code violations and a representative claim for civil penalties
                                  20   under the California Private Attorneys General Act (Cal. Lab. Code, § 2698, et seq.)
                                  21   (“PAGA”). See ECF 1-4. Defendant moved to compel arbitration based on an arbitration
                                  22   agreement signed by Plaintiff during her employment. ECF 14. The Court granted
                                  23   Defendant’s motion to compel and ordered the parties to submit to binding arbitration of
                                  24   Plaintiff’s individual claims. ECF 18. The Court requested further briefing on how to
                                  25   proceed with Plaintiff’s non-individual PAGA claims. The parties submitted a joint
                                  26   statement on Plaintiff’s remaining claims. ECF 20. Based on this supplemental briefing,
                                  27   the Court STAYS Plaintiff’s non-individual PAGA claims.
                                  28         The parties’ dispute is subject to the Federal Arbitration Act (“FAA”). Under § 3 of
                                           Case 5:22-cv-01745-NC Document 24 Filed 09/28/22 Page 2 of 2




                                  1    the FAA, the court “shall on application of one of the parties stay the trial of the action
                                  2    until such arbitration has been had in accordance with the terms of the agreement.” See
                                  3    also Nagrampa v. MailCoups, Inc., 469 F.3d 1257, 1277 (9th Cir. 2006) (“If . . . the
                                  4    district court decides that the arbitration agreement is valid and enforceable, then it should
                                  5    stay or dismiss the action pending arbitration”). A stay will also promote the efficient
                                  6    administration of justice by avoiding overlapping and potentially conflicting decisions.
                                  7           Accordingly, Plaintiff’s non-individual PAGA claims are STAYED pending
                                  8    resolution of the arbitration proceeding. The parties must alert the Court within seven days
                                  9    of the final resolution of the arbitration proceeding. Additionally, the parties must provide
                                  10   a status update regarding the arbitration proceeding on or before September 28, 2023.
                                  11          IT IS SO ORDERED.
                                  12
Northern District of California
 United States District Court




                                  13   Dated: September 28, 2022                  _____________________________________
                                                                                        NATHANAEL M. COUSINS
                                  14                                                    United States Magistrate Judge
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